     Case 3:16-cv-00119-B Document 1-1 Filed 01/14/16            Page 1 of 21 PageID 4


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

ROY JAMES SMITH,                              §
     Plaintiff,                               §
                                              §
v.                                            §
                                              § CIVIL ACTION NO. 3:16-cv-119
BRANDON EDWARD HOLDEN,                        §
RENEE TRUCKING LLC, WENDALL                   §
C. BARNES, and CON-WAY                        §
TRUCKLOAD, INC.,                              §
      Defendants.                             §

                                  INDEX OF DOCUMENTS

           COMES NOW,      CON-WAY TRUCKLOAD,            INC.   (hereinafter referred to as

"Defendant"), Defendant in the above-entitled and numbered civil action, and submits this its

Index of Documents filed in the State Court Action, pursuant to the Federal Rules of Civil

Procedure, and which are attached to Defendant's Notice of Removal:

                                      Document                                 Date

      1.      Civil Case Information Sheet                                   12/21/15
      1.      Plaintiffs Original Petition                                   12/21/15
      2.      Original Answer of Defendant Con-Way Truckload, Inc.           01/14/16
      3.      Defendant's Jury Demand                                        01/15/16
      4.      Defendant's Notice of Removal                                  01/14/16
      5.      State Court Docket Sheet                                       01/14/16




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                                            Respectfully submitted,


                                            Isl D. Randall Montgomery
                                            D. RANDALL MONTGOMERY
                                            State Bar No. 14289700
                                            Rmontgomery@drmlawyers.com
                                            ASHLEY A. SMITH
                                            State Bar No. 24049385
                                            asmith@drmlawyers.com
                                            D. RANDALL MONTGOMERY
                                              & ASSOCIATES, P.L.L.C.
                                            12400 Coit Road, Suite 560
                                            Dallas, Texas 75251
                                            (214) 292-2600
                                            (469) 568-9323 (Facsimile)

                                            ATTORNEYS FOR DEFENDANT
                                            CON-WAY TRUCKLOAD, INC.

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
instrument has been served upon all attorneys of record in accordance with the Federal Rules of
Civil Procedure on this the 14th day of January, 2016.

CMRRR 9214 7969 0099 9790 1605 7300 19
Tim Robinson
The Robinson Law Group, LLP
1650 W. Northwest Hwy., Suite 203
Grapevine, TX 76051



                                           Isl D. Randall Montgomery
                                           D. RANDALL MONTGOMERY




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                                            CIVIL CASE    Filed 01/14/16
                                                       INFORMATION  SHEET Page 3 of 21 PageID 6
                                                                                      DC-15-15275
             CAUSE NUMBER (FOR CLERK USE ONLY): _ _ _ _ _ _ _ _ _ _ _ _ _ _ COURT (FOR CLERK USE O N L Y ) : - - - - - - - - - -

                   STYLED         Roy James Smith v_ Brandon Edward Holden, Renee Trucking LLC, Wendall C. Barnes, and Con-Way Truckload Inc.

                                              (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson)
A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
the time of filing.


                                                                                                                                                                             liJAttorney for Plaintiff/Petitioner
Name:                                                     Email:                                                 Plaintiff( s)/Petitioner( s):                               DPro Se Plaintiff/Petitioner
                                                                                                                                                                             DTitle IV-D Agency
Aaron Robinson                                             Aaron.Robinson@TheRobinsonlawgroup.com                 Roy James Smith
                                                                                                                                                                             DOther: - - - - - - - - -
Address:                                                   Telephone:
                                                                                                                                                                             Additional Parties in Child Support Case:
400 N. Saint Paul St. Ste. 1140                            214-945-1022

                                                                                                                 Defendant(s)/Respondent(s):                                 Custodial Parent:
City/State/Zip:                                            Fax:
                                                                                                                  Brandon Edward Holden, Renee Trucking LLC,

Dallas, Texas 75201                                        214-945-1023                                                                                                      Non-Custodial Parent:
                                                                                                                  Wendall C. Barnes, and Con-Way Truckload Inc.

Signature:                                                 State Bar No:
                                                                                                                                                                             Presumed Father:
                                                            24085705
                                                                                                                 [Attach additional page as necessary to list all parties]




Debt/Contract                                                                                                                                       DAnnulment
  Dconsumer/DTPA                                                                                        Condemnation                                DDeclare Marriage Void
  DDebt/Contract                                                                                      DPartition                                    Divorce
  DFraud/Misrepresentation                         Malpractice                                        DQuiet Title                                    DWith Children
  DOther Debt/Contract:                              DAccounting                                      DTrespass to Try Title                           DNo Children
                                                     DLegal                                           DOther Property:
Foreclosure                                          DMedical
  DHome Equity-Expedited                             DOther Professional
  DOther Foreclosure                                   Liability:                                                                                                                         ;·,_ --.-->:·:-. _,:_...:_-::
DFranchise                                                                                                 .llef~tt;d J«i CriifiinllI
Dinsurance                                         [!]Motor Vehicle Accident                                        .Matters" '                                                            .Parerit~t~ild R~I~ti~ns~i
DLandlord/Tenant                                   DPremises                                          DExpunction                                    DEnforce Foreign                     DAdoption/Adoption with
DNon-Competition                                   Product Liability                                  DJudgment Nisi                                   Judgment                            Termination
DPartnership                                         DAsbestos/Silica                                 DNon-Disclosure                                DHabeas Corpus                       DChild Protection
DOther Contract:                                     DOther Product Liability                         DSeizure/Forfeiture                            DName Change                         DChild Support
                                                        List Product:                                 DWrit of Habeas Corpus-                        DProtective Order                    DCustody.or Visitation
                                                                                                        Pre-indictment                               DRemoval of Disabilities             DGestational Parenting
                                                    DOther Injury or Damage:                          DOther: _ _ _ _ __                               of Minority                        DGrandparent Access
                                                                                                                                                     DOther:                              DParentage/Patemity
                                                                                                                                                                                          DTermination of Parental
                                                                                                                                                                                            Rights
                                                                                          Other Civil                                                                                     DOther Parent-Child:
DDiscrimination                                      DAdministrative Appeal                            DLawyer Discipline
DRetaliation                                         DAntitrust/Unfair                                 DPerpetuate Testimony
DTermination                                           Competition                                     DSecurities/Stock
DWorkers' Compensation                               DCode Violations                                  DTortious Interference
DOther Employment:                                   DForeign Judgment                                 DOther: _ _ _ _ __
                                                     Dintellectual Property

                                                                                                                           Probate & Mental Health
 DTax Appraisal                                      Probate/Wills/Intestate Administration                                                     DGuardianship--Adult
 DTax Delinquency                                      DDependent Administration                                                                DGuardianship--Minor
 DOtherTax                                             Oindependent Administration                                                              DMental Health
                                                       DOther Estate Proceedings                                                                Oother: _ _ _ _ _ _ __

                                                                              seiednwre ihaiil.:
  DAppeal from Municipal or Justice Court                                           DDeclaratory Judgment                                                         DPrejudgment Remedy
  DArbitration-related                                                              DGarnishment                                                                  DProtective Order
  DAttachment                                                                       Dinterpleader                                                                 DReceiver
  DBill ofReview                                                                    DLicense                                                                      DSequestration
  DCertiorari                                                                       DMandamus                                                                     DTemporary Restraining Order/Injunction
  DClass Action                                                                     DPost-judgment                                                                DTumover
4. Indicate dllma            es.sou    hf donotselecti iUs a                aniil   law ease
  DLess than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
  DLess than $100,000 and non-monetary relief
  Dover $100, 000 but not more than $200,000
  [!]Over $200,000 but not more than $1,000,000
  Dover $1,000,000
                                                                                                                                                                                                                          Rev 2/13
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1 CIT ESERVE                                                                                                 FELICIA P
                                                                                                           DISTRICT CL
        ~~                                                                                                 Stephanie Cla
                                                      DC-15-15275
                                          Cause No.
                                                      -----
        ROY JAMES SMITH                               §             IN THE l)ISTRICT COURT
                  Plaintiff,        §
        ~                           §
        ~                           §
        1J'RANDON EDWARD HOLDEN,    §                                   JUDICIAL DISTRICT
        RENEE TRUCKING LLC, WENDALL §
        C. BARNES, and CON-WAY      §
        TRUCKLOAD INC.              §
                   Defendants.      §                               DALLAS COUNTY, TEXAS



               PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURES



       TO THE HONORABLE JUDGE OF SAID COURT:

        1~~    COMES NOW, ROY JAMES SMITH, (11Plaintiff'), complaining of BRANDON

       EDWARD HOLDEN, RENEE TRUCKING LLC, WENDALL C. BARNES, and CON-WAY

       TRUCKLOAD INC. (hereinafter collectively 0 Defendants"), and for such cause of action would

       respectively show the Court and Jury, the following:
        ~).
        r
                                               I. DISCOVERY

       1.01    Pursuant to Rule 190.2 of the Texas Rules of Civil Procedure, discovery is to be

       conducted under Level 2.


                                                 II.PARTIES


       2.01    Plaintiff ROY JAMES SMITH is an individual who resides in DALLAS COUNTY,

       TEXAS. The last four digits of Plaintiffs Social Security number are 5371. In addition, the last

       four numbers of Plaintiff's driver's license are TDL No. 2941.
        ~                                                                      -
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 2.02      Defendant BRANDON EDWARD HOL.OEN, a resident of Missouri, can be served with

 Citation, Plaintiff's Original Petition and Request for Disclosures, and Plaintiffs First set of
  ~:
 Written Discovery through the Texas Long Arm Statute via the Texas Secretary of State.

 Defendant BRANDON EDWARD HOLDEWs last known address is RT 1 Box 900,

 Summersville, Missouri 65571.


 2~03
  ,._      Defendant RENEE TRUCKING LLC, can be served with Citation, Plaintiffs Original

 Petition and Request for Disclosures, and Plaintiff's First set of Written Discovery by and

 through the Texas Long Arm Statute via the Texas Secretary of State as they do not maintain a

 Registered Agent in the State    of Texas. RENEE TRUCKfNG LLC's last known registered office
 ~dress is 414 St Rt W, Mountain View, MO 65548.


 2.04      Defendant WENDALL C. BARNES, a resident of Arkansas, can be served with Citation,

 Plaintiffs Original Petition and Request for Disclosures, and Plaintiff's First set of Written

 Discovery through the Texas Long Arm Statute via the Texas Secretary of State. Defendant
 '!.~::.
   '!<·
 WENDALL C. BARNES' last known address is 19256 Hwy 71, South Boles, Arkansas 72926.


 2.05      Defendant CON-WAY TRUCKLOAD INC., can be served with Citation, Plaintiffs

 Original Petition and Request for Disclosures, and Plaintiffs First set of Written Discovery by

 i.md through their Registered agent, Corporation Service Company d/b/a CSC-Lawyers
  ~:·


 Incorporating Service Company, at the address of 211 E. 7th Street, Suite 620

 Austin, TX 78701-3218 USA.


                                   III. JUISDICTION AND VENUE
 ·t
 .\,.

 3.01      Venue is proper because all or a substantial part of the events giving rise to this cause of

 action occurred in Dallas County, Texas.
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 3.02    Actual damages are within the jurisdictional limits of the Court.


  ~                                            IV.FACTS


 4.01    On or about January 08, 2014, Plaintiff, ROY JAMES SMITH was in the left hand lane

 of southbound Highway 75(N. Central Expressway, on block number 13700 in Dallas, Texas.

 Plaintiff slowed his vehicle and came to a stop as the vehicles in front of him came to a stop.


 4.02    Defendant WENDALL C. BARNES was driving a Kenworth Truck and pulling a Road

 Systems Inc Trailer traveling in the left hand lane of southbound Highway 75/N. Central

 Expressway, on block number 13700 in Dallas,Texas. Defendant WENDALL C. BARNES was

 ~tJ,ving directly   behind the Plaintiff.
  .(!



 4.03    Defendant BRANDON EDWARD HOLDEN was driving a Peterbilt Truck and pulling a

 Trans craft Corp Trailer traveling in the left hand lane of southbound Highway 75/N. Central

 Expressway, on block number 13700 in Dallas, Texas. Defendant BRANDON EDWARD

 HOLDEN was driving directly behind Defendant WENDALL C. BARNES.

 4.04    While Plaintiff was stopped in traffic, Plaintiff's vehicle was violently struck from behind

 due to the collective reckless, careless and negligent operation of the respective vehicles of

 Defendant BRANDON EDWARD HOLDEN and Defendant WENDALL C. BARNES, causing
 ~~
  "·'
 serious injuries to Plaintiff, for which he now sues.


                                             V. NEGLIGENCE

                                  CLAIMS AGAINST DEFENDANTS


 fen    Plaintiff incorporates by reference, the same as if set forth at length, paragraphs 4.01

through 4.04 above.
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  5.02        Plaintiff alleges that Defendant BRANDON EDWARD HOLDEN is responsible for

  numerous acts and/or omissions of negligence including, but not limited to the following:


              a.       Failing to keep a lookout as would have been kept by a person exercising ordinary

                       care and prudence under the same or similar circumstances;

              b.       Failing to make timely and proper application of the brakes on his vehicle as

                       would have been made by a person exercising ordinary care and prudence under

                       the same or similar circumstances;

              c.       Failing to control the speed of the vehicle as a person exercising ordinary care.

                       and prudence would have done under the same or similar circumstances;

  rlf~;
   "'     .
              d    .   Driving in a reckless manner when a person of ordinary prudence would not

                       have done so- under the same or similar circumstances; and


              e.       Failing to bring the vehicle to a stop as a person exercising ordinary care and

                       prudence would have done under the same or similar circumstances.


              f.       Failing to maintain assured clear distance as a person exercising ordinary care and

                       prudence would have done under the same or similar circumstances.


  5.03        Plaintiff alleges that Defendant RENEE TRUCKING LLC is responsible for Plaintiffs
  $./~:
  damages for the following act:


              a.       Defendant RENEE TRUCKING LLC is vicariously liable through the theory of

                       Respondeat Superior via the conduct and actions of its employee/driver

                       BRANDON EDWARD HOLDEN within the course and scope of his

                       employment.
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  ~:·
 5;04    Plaintiff alleges that Oefendant WENDALL C. BARNES is responsible for numerous

 acts and/or omissions of negligence including, but not limited to the following:

         a.     Failing to keep a lookout as would have been kept by a person exercising ordinary

                care and prudence under the same or similar circumstances;

         b.     Failing to make timely and proper application of the brakes on his vehicle as

                would have been made by a person exercising ordinary care and prudence under

                the same or similar circumstances;

        c.      Failing to control the speed of the vehicle as a person exercising ordinary care

                and prudence would have done under the same or similar circumstances;

        d.      Driving in a reckless manner when a person of ordinary prudence would not

                have done so under the same or similar circumstances; and


        e.      .Failing to bring the vehicle to a stop as a person exercising ordinary care and

                prudence would have done under the same or similar circumstances.

        f.      Failing to maintain assured clear distance as a person exercising ordinary care and

                prudence would have done under the same or similar circumstances.

 5.05   Plaintiff alleges that Defendant CON-WAY TRUCKLOAD INC. is responsible for

 Plaintiffs damages for the following act:

        a.      Defendant CON-WAY TRUCKLOAD INC. is vicariously liable through the

               theory of Respondeat Superior via the conduct and actions of its employee/driver

                WENDALL C. BARNES within the course and scope of his employment.
Case 3:16-cv-00119-B Document 1-1 Filed 01/14/16                             Page 9 of 21 PageID 12



   .
   ,   .
       ~~-\
  ..:.·.:.
                                                VI.DAMAGES


  6.01        Plaintiff incorporates by reference, the same as if set forth at length, paragraphs 4.01

  through 5.05 above.
  :~
  6'.02       Upon trial of this case, Plaintiff ROY JAMES SMITH would show tha.t as a direct and

  proximate cause of the above described conduct of Defendants, Plaintiff has incurred reasonable

  and necessary expenses for medical care and attention. Plaintiff would show the medical

  expenses incun-ed were for the necessary care and treatment of the injuries resulting from the
  ·~'.·.,
  a·~cident which form the basis of this suit. The charges are reasonable and were the usual and
  customary charges made for such services. As a result of the injuries sustained by Plaintiff there

  is a reasonable probability that he will require further medical care and attention and will incur

  future reasonable and necessary expenses for medical care and attention. Such injuries have
  ~                                                         .
  ·'
  further caused Plaintiff a loss of earning in the past and there is a reasonable probability that he

  will incur a loss of earning capacity in the future. As a further result of the nature and

  consequences of Plaintiffs injuries, Plaintiff has suffered physical and mental pain, suffering and

  anguish.
  ~'
  ·1.

  6.03        By reason of the forgoing, Plaintiff has suffered losses and damages as follows:


              (1)    Past medical expenses;


              (2)    Future medical expenses;
  ·~:
   "
              (3)    Pain, suffering, physical impairment and mental anguish in the past;


              (4)    Pain, suffering, physical impainnent and mental anguish in the future;


              (5)    Past lost wages; and
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           .   (6)     LQss of earning capacity in the future.


  Plaintiff has suffered losses and damages in an amount in excess of the minimum jurisdictional

  limits of the Court. Plaintiffs damages are over $200,000.00 but not more than $1,000,000.00.


                                     VII. REQUEST FOR DISCLOSURE


  7.01         Defendants are requested to disclose, within 50 days of service of this request, the

  information or material described in Rule 194.2(a)-(I) of the Texas Rules of Civil Procedure.




  8 .0 I       Plaintiff demands a jury trial and tenders the appropriate fee with this Original Petition.


                                                  IX. PRAYER


  9!01         WHEREFORE, PREMISES CONSIDERED Plaintiff prays that Defendants be cited to

  appear and answer and that on final hearing hereof, Plaintiff have judgment against Defendant

  for the following:


               (1)    Actual damages in amount in excess of the minimal jurisdictional limits of the
  '~\
   I,,                Court;
               (2)    Prejudgment and post-judgment interest at the maximum legal amount allowed by
                      law;
               (3)    Taxable Court costs;
               (4)    For such other and further relief, both general and special, at la or in equity, to
                      which Plaintiff is justly entitled.

                                                      Respectfully submitted,

                                                     The Robinson Law Group, LLP

                                                     /S/ Tim Robinson
                                                     Tim Robirison
                                                     Texas Bar No. 17115450
                                                     Aaron Robinson
Case 3:16-cv-00119-B Document 1-1 Filed 01/14/16   Page 11 of 21 PageID 14




                                  Texas Bar No. 24085705
                                  1650 W. Northwest Hwy, Ste. 203
                                  Grapevine, Texas 76051
                                  (T): 817-224-2282
                                  (F): 817-288-0970
                                  (E): Tim.Robinson@TheRobinsonLawGroup.com
                                   Attorneys For Plaintiff




   'i%1
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Case 3:16-cv-00119-B Document 1-1 Filed 01/14/16                    Page 12 of 21 PageID 15DALLAS COUNTY
                                                                                                 1/13/2016 3:33:48 PM
                                                                                                       FELICIA PITRE
                                                                                                    DISTRICT CLERK

                                                                                                     Jesse Reyes

                                   CAUSE NO. DC-15-15275

ROY JAMES SMITH,                                 § IN THE DISTRICT COURT OF
     Plaintiff,                                  §
                                                 §
v.                                               §
                                                 §DALLAS COUNTY, TEXAS
BRANDON EDWARD HOLDEN,                           §
RENEE TRUCKING LLC, WENDALL                      §
C. BARNES, and CON-WAY                           §
TRUCKLOAD, INC.,                                 §
      Defendants.                                § 44TH JUDICIAL DISTRICT

         ORIGINAL ANSWER OF DEFENDANT CON-WAY TRUCKLOAD, INC.

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES     NOW,     CON-WAY TRUCKLOAD, INC.                   (hereinafter "Defendant"),

Defendant in the above-entitled and numbered cause, and makes and files this its Original

Answer, showing unto the Court as follows:

                                      GENERAL DENIAL

         Subject to such stipulations and admissions as may be made hereafter, this Defendant

hereby enters a general denial as permitted by Rule 92 of the Texas Rules of Civil Procedure,

and requests that Plaintiff be required to prove by a preponderance of the evidence the charges

and allegations which he has made against this Defendant and to do so before a jury composed of

twelve (12) citizens of this County as is required by the laws and Constitution of the State of

Texas.

         WHEREFORE, PREMISES CONSIDERED, Defendant prays that judgment be

rendered, that Plaintiff takes nothing by this suit and that Defendant be permitted to go hence

without delay and recover its costs in its behalf expended, and for such other and further relief,

general and specific, legal and equitable, to which Defendant may be justly entitled.




ORIGINAL ANSWER OF DEFENDANT CON-WAY TRUCKLOAD, INC. - Page 1
Case 3:16-cv-00119-B Document 1-1 Filed 01/14/16                  Page 13 of 21 PageID 16




                                            Respectfully submitted,


                                            Isl D. Randall Montgomery

                                            D. RANDALL MONTGOMERY
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                                            ASHLEY A. SMITH
                                            State Bar No. 24049385
                                            asmith@drmlawyers.com
                                            D. RANDALL MONTGOMERY
                                              & ASSOCIATES, P.L.L.C.
                                            12400 Coit Road, Suite 560
                                            Dallas, Texas 75251
                                            (214) 292-2600
                                            (469) 568-9323 (Facsimile)

                                            ATTORNEYS FOR DEFENDANT
                                            CON-WAY TRUCKLOAD, INC.



                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
instrument has been served upon all attorneys of record in accordance with the Texas Rules of
Civil Procedure on this the 13th   day of January, 2016.

CMRRR 9214 7969 0099 9790 1605 7298 60
Tim Robinson
The Robinson Law Group, LLP
1650 W. Northwest Hwy., Suite 203
Grapevine, TX 76051




                                            Isl D. Randall Montgomery

                                            D. RANDALL MONTGOMERY




ORIGINAL ANSWER OF DEFENDANT CON-WAY TRUCKLOAD, INC. - Page 2
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                                                                                                        FELICIA PITRE
                                                                                                     DISTRICT CLERK

                                                                                                       Jesse Reyes

                                     CAUSE NO. DC-15-15275

ROY JAMES SMITH,                                    § IN THE DISTRICT COURT OF
     Plaintiff,                                     §
                                                    §
v.                                                  §
                                                    § DALLAS COUNTY, TEXAS
BRANDON EDWARD HOLDEN,                              §
RENEE TRUCKING LLC, WENDALL                         §
C. BARNES, and CON-WAY                              §
TRUCKLOAD, INC.,                                    §
     Defendants.                                    § 44TH JUDICIAL DISTRICT

                                DEFENDANT'S JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, CON-WAY TRUCKLOAD, INC. (hereinafter "Defendant"), and

demands a jury trial of all issues of fact in this lawsuit.

       The filing of this Jury Demand, however, is not a request that the matter be set for trial at

this time or that the matter be placed on the Court's docket at this time.

                                                Respectfully submitted,


                                                Isl D. Randall Montgomery

                                                D. RANDALL MONTGOMERY
                                                State Bar No. 14289700
                                                Rmontgomery@drmlawyers.com
                                                ASHLEY A. SMITH
                                                State Bar No. 24049385
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                                                (214) 292-2600
                                                (469) 568-9323 (Facsimile)

                                                ATTORNEYS FOR DEFENDANT




DEFENDANT'S ,JURY DEMAND - Page 1
Case 3:16-cv-00119-B Document 1-1 Filed 01/14/16                  Page 15 of 21 PageID 18




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
instrument has been served upon all attorneys of record in accordance with the Texas Rules of
Civil Procedure on this the 131h   day of January, 2016.

CMRRR 9214 7969 0099 9790 1605 7298 60
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1650 W. Northwest Hwy., Suite 203
Grapevine, TX 76051


                                            Isl D. Randall Montgomery
                                            D. RANDALL MONTGOMERY




DEFENDANT'S JURY DEMAND - Page 2
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                                  CAUSE NO. DC-15-15275

ROY JAMES SMITH,                                § IN THE DISTRICT COURT OF
     Plaintiff,                                 §
                                                §
v.                                              §
                                                §DALLAS COUNTY, TEXAS
BRANDON EDWARD HOLDEN,                          §
RENEE TRUCKING LLC, WENDALL                     §
C. BARNES, and CON-WAY                          §
TRUCKLOAD, INC.,                                §
     Defendants.                                § 44™ JUDICIAL DISTRICT

                    NOTICE OF FILING OF NOTICE OF REMOVAL

        Please take notice that on January 14, 2016, Defendant Con-Way Truckload, Inc. filed a

Notice of Removal of the above-captioned action with the United States District Court for the

Northern District of Texas, Dallas Division, a copy of which is attached hereto.

                                             Respectfully submitted,


                                             Isl D. Randall Montgomery
                                             D. RANDALL MONTGOMERY
                                             State Bar No. 14289700
                                             Rmontgomery@drmlawyers.com
                                             ASHLEY A. SMITH
                                             State Bar No. 24049385
                                             asmith@drmlawyers.com
                                             D. RANDALL MONTGOMERY
                                               & ASSOCIATES, P .L.L.C.
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                                             Dallas, Texas 75251
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                                             (469) 568-9323 (Facsimile)

                                             ATTORNEYS FOR DEFENDANT
                                             CON-WAY TRUCKLOAD, INC.




NOTICE OF FILING OF NOTICE OF REMOVAL - Page 1
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
instrument has been served upon all attorneys of record in accordance with the Texas Rules of
Civil Procedure on this the 14th day of January, 2016.

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                                            Isl D. Randall Montgomery
                                            D. RANDALL MONTGOMERY




NOTICE OF FILING OF NOTICE OF REMOVAL - Page 2
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

ROY JAMES SMITH,                                 §
     Plaintiff,                                  §
                                                 §
v.                                               §
                                                 § CIVIL ACTION NO. _ _ __
BRANDON EDWARD HOLDEN,                           §
RENEE TRUCKING LLC, WENDALL                      §
C. BARNES, and CON-WAY                           §
TRUCKLOAD, INC.,                                 §
      Defendants.                                §

                          DEFENDANT'S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT mDGE:

        COMES NOW, CON-WAY TRUCKLOAD, INC., Defendant in the above-entitled and

numbered civil action (hereinafter referred to as "Defendant"), and would respectfully show the

Court as follows:

        1.     Defendant is a party in the above-entitled action now pending in the 44th Judicial

District Court of Dallas County, Texas, Cause No. DC-15-15275.

        2.     Roy James Smith (hereinafter "Plaintiff'') filed his Original Petition on December

21, 2015. Defendant Con-Way Truckload, Inc. was served with process in this matter on or

about December 29, 2015. Defendants Brandon Edward Holden, Renee Trucking LLC, and

Wendall C. Barnes have not been served at this time. This Notice of Removal is filed within

thirty (3 0) days of Defendant's receipt of the Petition and is therefore timely filed pursuant to 28

U.S.C. § 1446(b).

        3.     Removal of this action is proper under 28 U.S.C. §§ 1332(a) and 1441(a) because

complete diversity of citizenship exists as among the named parties and because the amount in

controversy exceeds $75,000.00.
                                                                                              EXHIBIT


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                                                                                              A
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       4.      In Plaintiffs Original Petition, Plaintiff Roy James Smith, who is a citizen and

resident of the State of Texas, alleges that on or about January 8, 2014, he was involved in a

motor vehicle collision by a truck owned by Defendant Con-Way Truckload, Inc., a corporation

with its principal place of business in the State of Missouri. On December 21, 2015, Plaintiff

filed suit against the Defendants bringing state law tort claims for negligence and various

liability, alleging damages in excess of $200,000.00 but not more than $1,000,000.00.

       5.      At the time Plaintiff filed her state court action, Defendant Con-Way Truckload,

Inc. had its principal place of business in the State of Missouri. Likewise, at the time of the

filing of this Notice of Removal, Con-Way Truckload, Inc. continues to maintain its principal

place of business in the State of Missouri.

       7.      The District Courts of the United States have diversity jurisdiction when there is

complete diversity among the parties and when the amount of controversy exceeds $75,000. 28

U.S.C. § 1332.      Because there is complete diversity of a citizenship, and the amount in

controversy exceeds $75,000.00, this case may properly be removed to this Court pursuant to 28

U.S.C. § 1441(a).

       8.      Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings and orders filed

in the state court are attached hereto as Exhibit "A."

       9.      This matter involves an amount in controversy exceeding $75,000.

       10.     Pursuant to 28 U.S.C. § 1446(d), Defendant has given written notice of filing of

this Notice of Removal to Plaintiff, and is filing a copy of this Notice of Removal with the Clerk

of the 44th Judicial District Court of Dallas County, Texas.

       WHEREFORE, PREMISES CONSIDERED, Defendant Con-Way Truckload, Inc. prays

that the above-mentioned civil action now pending against Defendant in the 44th Judicial District




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Court of Dallas County, Texas be removed to the United States District Court for the Northern

District of Texas, Dallas Division.

                                            Respectfully submitted,


                                           Isl D. Randall Montgomery
                                           D. RANDALL MONTGOMERY
                                           State Bar No. 14289700
                                           Rmontgomery@drmlawyers.com
                                           ASHLEY A. SMITH
                                           State Bar No. 24049385
                                           asmith@drmlawyers.com
                                           D. RANDALL MONTGOMERY
                                             & ASSOCIATES, P.L.L.C.
                                           12400 Coit Road, Suite 560
                                           Dallas, Texas 75251
                                           (214) 292-2600
                                           (469) 568-9323 (Facsimile)

                                            ATTORNEYS FOR DEFENDANT
                                            CON-WAY TRUCKLOAD, INC.

                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
instrument has been served upon all attorneys of record in accordance with the Federal Rules of
Civil Procedure on this the 14th day of January, 2016.

CMRRR 9214 7969 0099 9790 1605 7300 19
Tim Robinson
The Robinson Law Group, LLP
1650 W. Northwest Hwy., Suite 203
Grapevine, TX 76051


                                            Isl D. Randall Montgomery
                                            D. RANDALL MONTGOMERY




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                                                             REGISTER OF ACTIONS
                                                                   CASE No. DC-15-15275

ROY SMITH vs. Brandon BRANDON HOLDEN, et al                                     §                       Case Type:       OTHER (CIVIL)
                                                                                §                       Date Filed:      1212112015
                                                                                §                         Location:      44th District Court
                                                                                §
                                                                                §

                                                                         PARTY INFORMATION

                                                                                                                               Lead Attorneys
DEFENDANT BARNES, WENDAL


DEFENDANT       CON-WAY TRUCKLOAD INC.


DEFENDANT       HOLDEN, Brandon BRANDON EDWARD


DEFENDANT RENEE TRUCKING LLC


PLAINTIFF      SMITH, ROY                                                                                                      TIMOTHY S ROBINSON
                                                                                                                                Retained
                                                                                                                               214-945-1022(W)


                                                                EVENTS & ORDERS OF THE COURT

             OTHER EVENTS AND HEARINGS
12/21/2015 NEW CASE FILED (OCA)- CIVIL
12/21/2015 ORIGINAL PETITION
             Plaintiff's Original Petition and Request for Disclosures
12/21/2015 ISSUE CITATION
12/21/2015 ISSUE CITATION COMM OF INS OR SOS
12/22/2015 CITATION
              CON-WAY TRUCKLOAD INC.                                      Served               12/2912015
                                                                          Returned             01/06/2016
12/22/2015 CITATION SOSICOl/COHIHAG
              HOLDEN, Brandon BRANDON EDWARD                       Unserved
              RENEE TRUCKING LLC                                   Unserved
              BARNES, WENDAL                                       Unserved
12/22/2015 CITATION ISSUED
01/06/2016 RETURN OF SERVICE
             AFFIDAVIT OF RETURN OF SERVICE ON CON-WAY TRUCKLOADS
01/13/2016 ORIGINAL ANSWER - GENERAL DENIAL
             Smith - Original Answer of Defendant Con-Way Truckload, Inc.
01/13/2016 JURY DEMAND
             Smith - Jury Demand


                                                                    FINANCIAL INFORMATION




             DEFENDANT CON-WAY TRUCKLOAD INC.
             Total Financial Assessment                                                                                                                        40.00
             Total Payments and Credits                                                                                                                        40.00
             Balance Due as of 01 /1412016                                                                                                                      0.00

01/14/2016 Transaction Assessment                                                                                                                              40.00
01/14/2016   fD~~DIT CARD- TEXFILE Receipt# 2476-2016-DCLK                                   CON-WAY TRUCKLOAD INC.                                          (40.00)




             PLAINTIFF SMITH, ROY
             Total Financial Assessment                                                                                                                       331.00
             Total Payments and Credits                                                                                                                       331.00
             Balance Due as of 0111412016                                                                                                                       0.00

12/21/2015 Transaction Assessment                                                                                                                            331.00
12/21/2015 f;c~DIT CARD - TEXFILE Receipt# 74499 _2015 _DCLK                                 SMITH, ROY                                                    (331.00)




http://courts. dallascounty. org/CaseDetail. aspx?CaseID=5 0 56461                                                                                 1/14/2016
